Case 23-41037-can7        Doc 22    Filed 08/15/23 Entered 08/15/23 11:46:41         Desc Main
                                   Document      Page 1 of 3


                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE WESTERN DISTRICT OF MISSOURI
                                   AT KANSAS CITY

 In Re:                                     )
                                            )
 JESSICA LYNN ABARCA                        )      Case No. 23-41037-can7
                                            )
                              Debtor.       )

                     MOTION FOR RELIEF FROM AUTOMATIC STAY

         COMES NOW, Northgate MHP Lindale LLC, the movant herein (the “Movant”) by
and through its attorney, Steve N. Gatzoulis of Evans & Mullinix, P.A., seeks relief from
the automatic stay pursuant to 11 U.S.C. § 362(d), for the following reasons:
         1. This Court has jurisdiction over this contested matter pursuant to 28 U.S.C.
§1334 and 157, Bankruptcy Rules 4001 and 9014, and 11 U.S.C. §§105(a) and 362.
         2. On July 31, 2023, the debtor herein (the “Debtor”) filed a petition for relief under
Chapter 7 of the Bankruptcy Code, Case No. 23-41037-can7.
         3.   On or about March 27, 2020, Movant entered into a Lease Agreement (“Lease”)
with the Debtor. Under the Lease, Movant leased to the Debtor the mobile home lot is,
commonly known as 1260 NE US 69 #55, Liberty, MO 64068 (“Leased Premises”). A copy
of the Lease Agreement is attached hereto, marked as Exhibit 1, and incorporated by
reference as if fully set forth herein.
         4.   Prior to the filing of the bankruptcy, Movant filed a Petition for Rent and
Possession, Case No. 23CY-CV05969, in the Circuit Court of Clay County, Missouri. A
Judgment Entry was entered on July 17, 2023 granting Movant possession of the Leased
Premises and a monetary judgment of $2,425.00. A copy of the Judgment Entry is
attached hereto, marked as Exhibit 2, and incorporated by reference as if fully set forth
herein.
         5.   Contemporaneously with the filing of her petition under Chapter 7 Debor filed
Initial Statement about an Eviction Judgment (Form 101A) (doc. # 9) acknowledging that
Movant had received a judgment against her and stating that she remitted the rent to the
Court Clerk that would come due within the 30 days from filing. The Court’s entered a
Certified Copy of Docket Sheet “to show no rent funds received” (doc #11). A copy of the
Statement about an Eviction Judgment is attached hereto, marked as Exhibit 3, and a

{00970198 }
Case 23-41037-can7        Doc 22    Filed 08/15/23 Entered 08/15/23 11:46:41         Desc Main
                                   Document      Page 2 of 3


Certified Copy of Docket Sheet is attached hereto, marked as Exhibit 4. Exhibits 3 and 4
are incorporated by reference as if fully set forth herein.
         6.   Contemporaneously with the filing of her petition under Chapter 7, Debor also
filed a Statement About Payment of Eviction Judgment (Form 101B) (doc # 10) stating that
she has “paid the landlord the entire amount I owe as stated in the judgment for
possession”, a of which is attached hereto, marked as Exhibit 5, and incorporated by
reference as if fully set forth herein.
         7.   Movant has not been paid by the Debtor as evidenced by Movant’s
Transactions listing, a of which is attached hereto, marked as Exhibit 6, and incorporated
by reference as if fully set forth herein.
         8. The Debtor is in possession of the Leased Premises and continues to occupy
the Leased Premises as her principal residence.
         9. The Debtor is in default of said lease agreement in that Debtor owes:
                a. Pre-petition Judgment for Rent and Possession in the amount of
                    $2,425.00;
                b. Post-petition lot rent, waste removal, administrative fee, and late charge in
                    the amount of $682.25.
         10. . The Debtor’s failure to pay all pre and post-petition apartment rent, garage
rent, water charges, building protection policy, and late fees in a timely manner and she
continues occupancy of the Leased Premises has deprived and continues to deprive the
Movant of income from and the use of its property. Therefore, Movant’s interests in the
Leased Premises are not being adequately protected, and Movant is entitled to relief from
the Automatic Stay for cause.
         11. The Debtor’s failure to pay all post-petition rent in a timely manner violates the
Debtor’s obligations to timely perform all obligations until the lease is assumed or rejected,
as required by 11 U.S.C. §365(d)(3). Accordingly, Movant is entitled to relief from the
Automatic Stay for cause.
         12. The Debtor does not have any equity in said property.
         13. The said property is not necessary for an effective reorganization.
         14. The total dollar amounts necessary to cure the pre and post-petition debt as of
August 6, 2023 is $3,107.25.00.
         15. Movant further states that it is its believes that pursuant to 11 U.S.C. §

{00970198 }
Case 23-41037-can7       Doc 22    Filed 08/15/23 Entered 08/15/23 11:46:41          Desc Main
                                  Document      Page 3 of 3


362(b)(22) that the automatic stay does not apply as the Debtor failed to remit the required
payment to the Court Clerk and, therefore § 362(a)(3) does not apply to Movant. However,
Movant files its motion out of an abundance of caution.
         WHEREFORE, the Movant respectfully requests that this Court enter an Order: (a)
 granting the Movant relief from the automatic stay pursuant to 11 U.S.C. § 362(d) so that
 it may immediately terminate the Lease, retake possession of the Leased Premises,
 collect damages, and take any and all other action necessary to protect its interests in the
 Lease or the Leased Premises under the terms of the Lease, in accordance with
 applicable law; and (b) granting the Movant such other and further relief as is just, including
 adequate protection of its interest.

                                           Respectfully Submitted:

                                           EVANS & MULLINIX, P.A.


                                           /s/Steve N. Gatzoulis
                                           Steve N. Gatzoulis, KS #22176, MO #58057
                                           7225 Renner Road, Suite 200
                                           Shawnee, KS 66217
                                           (913) 962-8700; (913) 962-8701 (Fax)
                                           sgatzoulis@emlawkc.com
                                           ATTORNEYS MOVANT

                                CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the above and the foregoing was
 filed electronically with the U.S. Bankruptcy Court and has been served on the parties in
 interest via the Court’s CM/ECF systems and served by First Class U.S. Mail Postage
 pre-paid this 14th day of August 2023:

Jessica Lynn Abarca
1260 NE US Hwy 69
TRLR #55
Liberty, MO 64068
                                           /s/Steve N. Gatzoulis
                                           Steve N. Gatzoulis




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